Case 2:18-cv-08093-JMV/ME? pd diradnt 1-1 Filed 04/19/18 Page 1 of 2 PaxybtD: 6)
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DEGRADO HALKOVICH, LLC
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Hackensack, New Jersey 07601
(201) 678-9007
Attorney(s) For Plaintiff
Jeffrey M. Halkovich, Esq.
BAR ID #: 038522005 SUPERIOR COURT OF NEW JERSEY
ESSEX COUNTY

NEW JERSEY SPINE AND ORTHOPEDICS, | LAW DIVISION
LLC

Plaintiff, Docket: ESX-L-1714-18
V.

CIVIL ACTION

NATIONAL ASSOCIATION OF LETTER
CARRIERS HEALTH BENEFIT PLAN,

JOHN DOE(1-100) a fictitious person who is
presently unknownand XYZ CORP. (1-100),

a fictitious partnership,corporation, sole
proprietorship, limited liability company and/or
self funded health benefits planwhose identity is
presently unknown

 

Defendant(s).

 

SUMMONS
From The State of New Jersey, To The Defendant(s) Named Above:

The plaintiff, named above, has filed a lawsuit against you in the Superior Court of New Jersey.
The complaint attached to this summons states the basis for this lawsuit. If you dispute this complaint,
you or your attorney must file a written answer or motion and proof of service with the deputy clerk of
the Superior Court in the county listed above within 35 days from the date you received this summons,
not counting the date you received it. (A directory of the addresses of each deputy clerk of the Superior
Court is available in the Civil Division Management Office in the county listed above and online at
http://www. judiciary state.nj.us/pro se/10153_deptyclerklawref.pdf.) If the complaint is one in
foreclosure, then you must file your written answer or motion and proof of service with the Clerk of the
Superior Court, Hughes Justice Complex, P.O. Box 971, Trenton, NJ 08625-0971. A filing fee payable
to the Treasurer, State of New Jersey and a completed Case Information Statement (available from the
deputy clerk of the Superior Court) must accompany your answer or motion when it is filed. You must
also send a copy of your answer or motion to plaintiff's attorney whose name and address appear above,
or to plaintiff, if no attorney is named above. A telephone call will not protect your rights; you must file
and serve a written answer or motion (with fee of $175.00 and completed Case Information Statement) if
you want the court to hear your defense.
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If you do not file and serve a written answer or motion within 35 days, the court may enter a
Judgment against you for the relief plaintiff demands, plus interest and costs of suit. If judgment is
entered against you, the Sheriff may seize your money, wages or property to pay all or part of the
judgment.

If you cannot afford an attorney, you may call the Legal Services office in the county where you
live or the Legal Services of New Jersey Statewide Hotline at 1-888-LSNJ-LAW (1-888-576-5529). If
you do not have an attorney and are not eligible for free legal assistance, you may obtain a referral to an
attorney by calling one of the Lawyer Referral Services. A directory with contact information for local
Legal Services Offices and Lawyer Referral Services is available in the Civil Division Management
Office in the county listed above and online at
http://www. judiciary.state.nj.us/prose/10153_deptyclerklawref.pdf.

Smith/s/
DATED: March 15, 2018 Michelle M. Smith
Clerk of the Superior Court

 

Name of Defendant to be Served: NATIONAL ASSOCIATION OF LETTER
CARRIERS HEALTH BENEFIT PLAN

Address of the Defendant to be Served: 20547 Waverly Court
Ashburn, VA 20149
